                 Case 19-61607-grs                       Doc 12        Filed 01/07/20 Entered 01/07/20 17:50:16                                         Desc Main
                                                                       Document      Page 1 of 3

 Fill in this information to identify the case:
 Debtor name Americore Health, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alan W. Germany                                                                        Disputed                                                                          $87,274.73
 2386 North Sun
 Lake Place
 Tucson, AZ 85749
 Amy                                                                                    Disputed                                                                                  $0.00
 Jackson-Bollinger
 C/O Ronald E.
 Johnson Jr., Sarah
 N. Emer
 Hendy Johnson
 Vaugh Emergy, PSC
 909 Wright's
 Summit Parkway,
 #210
 Covington, KY
 41011
 APP Group                                                                              Disputed                                                                                  $0.00
 International, LLC
 85 Broad Street,
 75th Floor
 New York, NY 10004
 Azzam Medical                                                                          Disputed                                                                                  $0.00
 Services, LLC
 C/O Jesse O.
 Weatherly
 657 Chamberlin
 Avenue
 Cullman, AL 35055
 Commonwealth of                                                                        Disputed                                                                                  $0.00
 Pennsylvania
 C/O Nancy A.
 Walker
 Chief Deputy
 Attorney General
 1600 Arch Street,
 Suite 300
 Philadelphia, PA
 19103

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 Debtor    Americore Health, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cornerstone                                                                            Disputed                                                                                  $0.00
 Advisors Group,
 LLC
 C/O Keith T. Ryan
 20 Thunder Lake
 Road
 Wilton, CT 06897
 Corporation                                                                                                           Unknown                         $0.00               Unknown
 Services Company
 P.O. Box 2576
 Springfield, IL 62708
 CT Corporation                                                                                                        Unknown                         $0.00               Unknown
 Systems
 Attn: SPRS
 330 N. Brand Blvd.,
 Suite 700
 Glendale, CA 91203
 Daniel Jones                                                                           Disputed                                                                                  $0.00
 C/O Melissa R.
 Dixon
 Gambrel and Wilder
 Law Offices PLLC
 1222 North Main
 Street
 London, KY 40741
 Diverse Medical                                                                        Disputed                                                                                  $0.00
 Management, Inc.
 C/O Michael Frey
 82 Breckridge Road
 McMinnville, TN
 37110
 EIN CAP, Inc.                                                                          Disputed                       Unknown                         $0.00               Unknown
 160 Pearl Street,
 Floor 5
 New York, NY 10005
 Eys Cash, LLC                                                                                                                                                                    $0.00
 1130 Bedford
 Avenue
 North Miami Beach,
 FL 33160
 Fisher Scientific                                                                      Disputed                                                                                  $0.00
 Company
 711 Forbes Avenue
 Pittsburgh, PA
 15219
 HOP Capital                                                                            Disputed                       Unknown                         $0.00               Unknown
 323 Sunny Island
 Blvd.
 #501
 Sunny Isles Beach,
 FL 33160



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                                                                       Document      Page 3 of 3

 Debtor    Americore Health, LLC                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Jerry Wollum, M.C.,                                                                    Disputed                                                                                  $0.00
 P.S.C.
 C/O Christopher
 Douglas
 Douglas Law Office
 P.O. Box 158
 Pineville, KY 40977
 Jones Day                                                                                                                                                                $83,208.00
 C/O Chris Anderson
 77 West Wacker
 Drive
 Chicago, IL 60601
 Kentucky                                                                               Disputed                                                                                  $0.00
 Department of Labor
 657 Chamberlin
 Avenue
 Frankfort, KY 40601
 Melissa North                                                                          Disputed                                                                                  $0.00
 C/O Ronald
 Johnson, Jr., Sarah
 Emery
 Emery Hendy
 Johnson Vaughn
 Emery, PSC
 909 Wright's
 Summit Parkway,
 #210
 Covington, KY
 41011
 MOSC Enterprises,                                                                                                                                                                $0.00
 LLC
 73 N. Maple Avenue
 Toms River, NJ
 08753
 Penn Med LLC                                                                           Disputed                 $5,257,049.00                         $0.00          $5,257,049.00
 C/O Jeffery P.
 Meyers
 Myers Law Group
 LLC
 17025 Perry
 Highway
 Warrendale, PA
 15086




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